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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

 

FORT LAUDERDALE DIVISION
IN RE: Case No. 19-22356-BKC-SMG
DANNY A. WILDER Chapter 7
Debtor. /
AMENDED MOTION

FOR AN ORDER DIRECTING CLERK NOT TO DISMISS CASE

 

COMES NOW, Kenneth A. Welt as the Chapter 7 Trustee of the case captioned above and does
respectfully file this his Amended Motion for an Order Directing Clerk Not to Dismiss Case and in
support there of states as follows:

1. The debt filed a voluntary petition on September 17, 2019 and Kenneth A. Welt was appointed to
serve as the Chapter 7 Trustee,
2. To date, the debtor has failed to file a complete petition with schedules in the case.

The clerk has filed notices of this deficiency and the debtor still has not complied.

4, It is the practice of the clerk’s office to dismiss the case if the deficiencies are not cured by the
debtor.

5. The Trustee believes from a cursory review of the schedules filed that the case should be
administered because of the prospect of assets that can be liquidated for the benefit of creditors.

6. The Trustee previously filed a Motion Not to Dismiss the Case (DE#14) but was entered under in

correct event on Court’s docket.

THEREFORE, the Trustee requests the entry of an Order to the Clerk of the Court to not dismiss
this case

Dated: October 17, 2019 /s/ Kenneth A. Welt

 

Trustee Kenneth A, Welt
8201 Peters Rd, Ste. 1000
Plantation, FL 33324
(954) 368-6682
